Case 2:12-cr-00007-JPJ-PMS Document 3 Filed 03/21/12 Page 1 of 9 Pageid#: 4

                                                                      CLERK'S OFFICQU. S.DIST.COURT
                                                                             ATABINGDON,VA
                                                                                   FILED
                                                                        '


                  IN TH E U N ITED STA TES DISTRICT C O UR T                  @#2 21 2212        .
                                                                                                  ,
                                                                                !,
                                                                                '  ..'           .
                                                                                                 ,
                 FO R TH E W ESTERN D ISTR ICT O F VIR G IN IA
                          BlG STO NE G AP DIV ISIO N
                                                                            2LY t? ,'C
                                                                               ,
                                                                                                 f
                                                                              D              (.
U NITED STATES O F AM ERICA                 :

            V.                              : CaseNo.k e/y ygypy
ANTO M O JO H NSO N


                                PLEA AG R EEM EN T

       lhave agreed to enter into a plea agreem entw ith the U nited States of Am erica,
pursuant to Rule 11 of the Federal Rules of Crim inal Procedure. The term s and
conditionsofthisagreem entare asfollow s:

A. CHA RGE TO W H ICH lA M PLEAD ING GU ILTY A r            W A IVER O F RIGH TS

       1.TheChargeand PotentialPunishm ent

      M y attorney has inform ed m e of the nature of the charge and the elem ents ofthe
chargethatm ustbe proved by the U nited Statesbeyond a reasonable doubtbefore 1could
be found guilty ascharged.

      lw illentera plea ofguilty to CountOne ofthe Indictm ent.

      Count One charges m e with w illfully, deliberately, m aliciously and w ith
premeditation and malice aforethought,unlawfully killing ErnestBermett(Erst degree
murder)by stabbinghim in violation of18U.S.C.j 1111(a). lftheUnited Statesdoes
notfile aNoticepursuantto 18 U.S.C.j3593(a),themaximum statutorypenalty isafine
of $250,000 and life imprisonment, plus a term of supervised release. There is a
m andatory m inim um sentence oflife im prisonm ent.

      lunderstandthata $100 specialassessment,pursuantto 18U.S.C.j 3013,willbe
im posed per felony count of conviction. l further understand m y supervised release,if
any,m ay be revoked if 1 violate its term s and conditions.I understand a violation of
supervised release increasesthe possible period ofincarceration.
Defendant'sInitials. # .-Y
Case 2:12-cr-00007-JPJ-PMS Document 3 Filed 03/21/12 Page 2 of 9 Pageid#: 5




    1 am pleading guilty as described above because 1 am in fact guilty and because I
believe it is in m y best interest to do so and not because of any threats or prom ises.
Exceptas setforth in paragraph A .3,there has been no prom ise m ade whatsoeverby any
agent or em ployee of the U nited States to m e as to w hat the final disposition of this
m atterwillbe.

      2.W aiver ofConstitutionalRightsU pon a Plea ofG uilty

      1 acknow ledge l have had a1l of m y rights explained to m e and I expressly
recognize 1 have the following constitutionalrights and,by voluntarily pleading guilty,1
knowingly w aive and give up thesevaluable constim tionalrights:

      a. The rightto plead notguilty and persistin thatplea;
      b. Therightto aspeedy andpublicjurytrial;
      c. Therightto assistance ofcounselatthattrialand in any subsequentappeal;
      d. The rightto rem ain silentattrial'
                                          ,
      e. Therightto testify attrial;
      L The rightto confrontand cross-exam inew itnessescalled by the governm ent;
      g. Therightto presentevidence and witnessesin m y ow n behalf'
                                                                   ,
      h. The rightto compulsoryprocessofthe court;
      i. The rightto com pelthe attendance ofw itnessesattrial;
      j. Therighttobepresumed innocent;
      k. The rightto aunanim ousguilty verdict;and
      1. The rightto appeala guilty verdict.


      3. A greem entN otto Seek Death Penalty

      If1 com ply w ith m y obligationsunder the plea agreem entythe United States w ill
notseek the death penalty as to the death eligible charge to w hich 1plead guilty. IT IS
EXPRESSLY AG REED AN D UN DERSTOO D TH AT TH E D ECISION TO SEEK OR
N O T SEEK THE DEA TH PENA LTY IS SOLELY IN THE DISCRETION OF TH E
ATTO RN EY G EN ERAL OF THE UN ITED STA TES AN D TH E AG REEM ENT NO T
TO SEEK TH E D EA TH PENA LTY IS CON DITION ED UPO N H1S W RITTEN
A PPROV AL. IF SUCH A PPROV AL IS N OT GRAN TED, TH E U NITED STATES
AN D 1A GREE THA T l M A Y W ITH DRAW M Y A GREEM EN T TO PLEA D GU ILTY
TO TH E D EA TH ELIG IBLE CO UN T SET FO RTH IN THE IND ICTM EN T AN D
PRO CEED TO TRIA L ON SU CH COUN T.
nefendant'sInitials: J.--:r'
Case 2:12-cr-00007-JPJ-PMS Document 3 Filed 03/21/12 Page 3 of 9 Pageid#: 6




B . SENTEN CIN G PROV ISION S

   1. G eneralM atters

       l understand the detenuination of w hat sentence should be im posed,w ithin the
confines ofany applicable statutory m inim um sand m axim um s,isin the sole discretion of
the Court subject to its consideration of the United States Sentencing Guidelines
(tûguidelines'' or û1U.S.S.G'') and the factors set forth at 18 U.S.C. j 3553(a). l
understand,how ever,thatthe statutory m inim um sentence is life imprisonm ent and that
sentence m ust be im posed by the court in the absence of a m otion for substantial
assistance m ade by the United States. N evertheless,Iw illhave an opportunity to review
a copy of m y presentence report in advance of m y sentencing hearing and m ay file
objections,asappropriate. Subjecttothelimitationsimposedby the statutory minimum
and m axim um sentences and the term s ofthis plea agreem ent,1 willhave an opportunity
at m y sentencing hearing to present evidence, bring w itnesses, cross-exam ine any
w itnessesthe govenmaentcallsto testify.

       1 understand I w ill not be eligible for parole during any term of imprisonm ent
im posed. I have discussed sentencing issues w ith m y attorney and realize there is a
substantiallikelihood 1w illbeincarcerated forthe rem ainderofm y life.

       Iunderstand the Courtisnotbound by any recom m endation orstipulation and m ay
sentence m eup to the statutory m axim um oflife im prisonm ent. lunderstand lw illnotbe
allow ed to w ithdraw m y plea of guilty if the Court disregards the stipulations and/or
recom m endations setforth in the pleaagreem ent.

   2. Sentencing G uidelines

       Iunderstand guideline sections m ay be applicableto m y case and the United States
and Iwillbe free to argue whetherthese sections should orshould notapply;to the extent
the argum ents are notinconsistentw ith the stipulations,recom m endations and term s set
forth in thisplea agreem ent.H ow ever,1understand thatlife im prisonm entisthe statutory
m inim um term and Iw illbe sentenced to life regardlessofthe sentence recom m ended by
the advisoly sentencing guidelines.

        Recognizing and agreeing that life is the m andatoly m inim tlm sentence thatm ay
be im posed,the United States agrees to recom m end and I agree to accept a sentence of
life im prisonm entw ithoutthe possibility ofparolew ith respectto CountOne.
Defendant'sfalf,+:/.U
                                           -   3-
Case 2:12-cr-00007-JPJ-PMS Document 3 Filed 03/21/12 Page 4 of 9 Pageid#: 7




      lagreetoacceptresponsibilityformy conduct.lflcomplywithmy obligations
underthisplea agreem entand acceptresponslbility form y conduct,the United Statesw ill
recom m end the Court grant m e a tw o-levelreduction in m y offense level,pursuant to
U.S.S.G.j 3E1.1(a)and,ifapplicable,atsentencing,willmove thatlreceive aone-level
redudion in my offense level,pursuantto U.S.S.G.j3E1.1(b).However,1stipulatethat
if l failto accept responsibility for m y conduct or failto comply w ith any provision of
thisplea agreem ent,Ishould notreceive creditforacceptance ofresponsibility.

   3. SubstandalA ssistance

      I havs been told by the govem m entthat l w illN OT be given an opportunity to
reducemy sentencepursuanttoFed.R.Crim.P.35(b),U.S.S.G.j5K1.1and 18U.S.C.j
3553(e)(substantialassistance). Fully understanding thatIwillspend the remainderof
m y natural life in prison, l nevertheless agree to plead guilty pursuant to this plea
agreem ent.

   A DDITIO NAL M A TTER S

   1. W aiver ofRightto A ppeal

      Knowing that1 have a rightof directappealofmy sentence under 18 U.S.C.j
3742(a)and thegroundslisted therein,lexpressly waivethe rightto appealmy sentence
on those grounds or on any ground. In addition,lhereby w aive m y rightofappealasto
any and a1lother issues in this m atter and agree lw illnotfile a notice of appeal. lam
knowinglyandvoluntarilywaivinjanyrighttoappeal.Bysigningthisagreement,Iam
explicitly and irrevocably directlng my attorney not to file a notice of appeal.
N otwithsnanding any other language to the c/afrlry, I am not wcfv/ag > rlght to
appealorto A> e> attornq #leal/fceofappeal,a:to any fuaewhkh cannotbe
wlfpe: by l- . 1 understand the United States expressly reserves allof its rights to
appeal. l agree and understand ifI fIe any courtdocument(exeeptfor an appeal
based on an issue that cannot be w aived, by law , or a collateral attack based on
inelective assistance ofcounsel)seeking to disturb,in any way,any order imposed
in m y case such action shallconstitute a failure to com ply w ith a provlsion of this
agreem ent.




Defendant,
         sza-ozvz d .T
                                           4-
                                           -
Case 2:12-cr-00007-JPJ-PMS Document 3 Filed 03/21/12 Page 5 of 9 Pageid#: 8




   2. W aiver ofR ightto Collaterally Attack

      1w aive any rightI m ay have to collaterally attack,in any future proceeding,any
order issued in this matter,unless such attack is based on ineffective assistance of
counsel,and agree I w illnotfile any docum ent which seeks to disturb any such order,
unless such filing is based on ineffective assistance ofcounsel. I agree and undentand
thatiflflle any courtdocument(exceptfor an appealbased on an issuethatcannot
bewaived,by Iaw;or a collateralattack based on inelectlve assistance ofcounsel)
seeking to disturbrin any w ay, any order lm posed in m y case, such action shall
constltute a failure to com ply w ith a prod sion ofthis agreem ent.

   3. Inform ation A ccessW aiver

      1knowinjlyandvoluntarilyagreetowaiveallrights,whetherasserteddirectlyor
by a representatlve,to requestor receive from any departm entor agency ofthe Unlted
Statesanj recordspertainingtotheinvestigationorprosecution ofthiscase,including
w ithoutllm itation any recordsthatm ay be soughtunderthe Freedom ofInform ation A ct,
5U.S.C.9552,orthePrivacy Actof1974,5 U.S.C.j552a.
   4. W aiver ofW itnessFee

      Iagreeto w aive a11rights,claim sorinterestin any w itnessfee lm ay be eligibleto
receive pursuant to 28 U.S.C.b 1821,for my appearance at any Grand Jury,witness
Conference Orcoul'tProceeding.

   5. A bandonm entofSeized Item s

       By signing thispleaagreem ent,Ihereby abandon m y interestin,and consentto the
official use, destruction or other disposition of each item obtained by any law
enforcem ent agency during the course of the investigation, unless such item is
specifically provided forin anotherprovision ofthisplea agreem ent. 1ftzrtherw aive any
and a1lnotice ofany proceeding to im plem entthe officialuse,destruction,abandonm ent,
orotherdisposition ofsuch item s.




oepndant-
        sz-/oaz /.T
                                         -   5-
Case 2:12-cr-00007-JPJ-PMS Document 3 Filed 03/21/12 Page 6 of 9 Pageid#: 9




   6. A dditionalO bligations

      1agree notto comm itany ofthe following acts:

          * attem ptto w ithdraw my guilty plea;
          * deny lcomm itted any crim eto w hich lhave pled guilty;
          @ make oradoptany arguments orobjectionsto thepresentencereportthat
              are inconsistentwith thisplea agreem ent;
          * obstructjustice;
          *   failto com ply w ith any provision ofthisplea agreem ent;
          *   com m itany othercrim e;
          *   m ake a false statem ent;or
          .   fail to enter m y plea of guilty when scheduled to do so, unless a
              continuance is agreed to by the U nited StatesA ttom ey's O ffice and granted
              by the Court.

D . REM ED IES AV AILABLE TO THE UN ITED STA TES

    l hereby stipulate and agree that the United States Attorney's oftice m ay, at its
election,pursue any orallofthe follow ing rem ediesifIfailto com ply with any provision
ofthisagreement:(a)declarethispleaagreementvoid;(b)refusetodismissany charges;
(c)reinstate any dismissed charges;(d)tile new charges;(e)refuse to abide by any
provision,stipulations,and/orrecommendationscontained in thisplea agreement;or(9
take any otheraction provided forunderthis agreem entor by statute,regulation orcourt
nlle.

    ln addition,l agree if,for any reason,m y conviction is set aside,or l failto com ply
with any obligation undertheplea agreem ent,the United Statesm ay file,by indictm entor
inform ation, any charges against m e which w ere filed and/or could have been filed
concem ing the m atters involved in the instant investigation. l hereby w aive m y right
under FederalRule of Crim inalProcedure 7 to be proceeded againstby indictm entand
consentto the filing of an inform ation against m e concerning any such charges. 1 also
hereby w aive any statute oflim itationsdefense asto any such charges.

      The rem edies set forth above are cumulative and not m utually exclusive. The
United States'election ofany ofthese rem edies,otherthan decladng thisplea agreem ent
void,does not,in any w ay,term inate m y obligation to com ply with the term s ofthe plea
agreem ent. The use oftçif''in thissection doesnotm ean ttif,and only if.''
Diendant's;a;=oI::V wY
                                            -   6-
Case 2:12-cr-00007-JPJ-PMS Document 3 Filed 03/21/12 Page 7 of 9 Pageid#: 10




 E. GEN ER AL PROV ISION S

    1. Lim itation ofA greem ent

         ThisajreementonlybindstheUnited StatesAttomey'sOftice fortheWestern
 D istrict of V lrginia. It does notbind any state or localprosecutor,other United States
 A ttorney's Office or other ofûce or agency ofthe United States Governm ent,including,
 but not lim ited to,the Tax D ivision of the United States Departm ent of Justice,or the
 lnternalRevenue Service ofthe United StatesDepartmentofthe Treasuy. These
 individualsandagenciesremainfreetoprosecutemeforanyoffensets)commlttedwithin
 theirrespectivejurisdictions.
    2.        EffectofM y Signature

       l understand m y signature on this agreem ent constitutes a binding offerby m e to
 enterinto this agreem ent. 1understand the United States hasnotaccepted m y offeruntil
 itsignsthe agreem ent.

    3.        EffectiveR epresentation

        I have discussed the term s of the foregoing plea agreem ent and al1 m atters
 pertaining to the charges against m e w ith m y attorney and am fully satisfied w ith m y
 attorney and m y attorney's advice. A tthis tim e,l have no dissatisfaction or com plaint
 w ith my attorney'srepresentation. lagreeto m ake known to the Courtno laterthan atthe
 tim e of sentencing any dissatisfaction or com plaint I m ay have w ith m y attorney's
 representation.

    4. Com pletion ofProsecution

        l understand that except as provided for in this plea agreem ent,there w illbe no
 furtherprosecution ofm e in the W estern DistrictofVirginia for any m atters aboutwhich
 the U nited States has specisc knowledge gained from the investigation thatgave rise to
 the charges contained in this lndictm ent.

    5. FinalM atters

        l understand the Court is not bound by any recomm endations or stipulations
 contained in this agreem entand m ay sentence m e up to the m axim um provided by law .
 Defendant'sInitials. /...5
Case 2:12-cr-00007-JPJ-PMS Document 3 Filed 03/21/12 Page 8 of 9 Pageid#: 11




        I understand a thorough presentence investigation w ill be conducted and
 sentencing recom m endations independent of the U nited States Attorney's O ffice w illbe
 m ade by the presentencepreparer,which the Courtm ay adoptortake into consideration.
 1 understand any calculation regarding the guidelines by the United States Attom ey's
 O ffice orby my attorney is speculative and is notbinding upon the Court,the Probation
 O ffice or the United States A ttorney's Ofsce. N otwithstanding the advisory guideline
 calculations,lunderstand thatthe statutory m inim um is life im prisonm ent,and Ishallbe
 sentenced to life im prisonm entby the court.

       1understand the prosecution w illbe free to allocute or describe the nature ofthis
 offense and the evidence in this case and w ill, consistent w ith the term s of this plea
 agreem ent,recom m end Ireceive a life sentence.

        I understand the United States retains the right,no> ithstanding any provision in
 this plea agreem ent,to inform the Probation Office and the Courtof a11relevantfacts,to
 addressthe Courtwith respectto thenatureand seriousness ofthe offensets),to respond
 to any questions raised by the Court,to correct any inaccuracies or inadequacies in the
 presentencereportand to respond to any statem entsm ade to the Courtby or on behalfof
 the defendant.

        I w illingly stipulate there is a sufficient factualbasis to supporteach and every
 material factual allegation contained within the charging documentts) to which I am
 pleading guilty.

        1understandthisagreementdoesnotapjlytoanycrimesorchargesnotaddressed
 in this agreem ent. Iunderstand ifIshould testlfy falsely in this orin a related proceeding
 1may beprosecuted forperjuryand statements1may havegiven authoritiespursuantto
 thisagreem entm ay be used againstm e in such aproceeding.

        1understand m y attorney willbe free to argue any m itigating factorson m y behalf;
 to the extentthey are notinconsistent w ith the term s ofthis agreem ent. l understand I
 w illhave an opportunity to personally addressthe Courtpriorto sentence being im posed.

         Thism iting setsforth theentireunderstanding between the partiesand constitutes
 the com pleteplea agreem entbetween the United States Attorney forthe W estern D istrict
 of V irginia and m e,and no other additionalterm s or agreem ents shallbe entered except
 and unlessthose otherterm s or agreem ents are in w riting and signed by the parties.This
 plea agreem entsupersedes al1priorunderstandings,prom ises,ap eem ents,orconditions,
 ifany,between the Unit d Statesand m e.
 Defendant'sJà;o #œz     -Y
                                             -   8-
Case 2:12-cr-00007-JPJ-PMS Document 3 Filed 03/21/12 Page 9 of 9 Pageid#: 12




        lhave consulted w ith m y attorney and fully understand allm y rights. lhaveread
 this plea agreem ent and carefully review ed every part of it with m y attorney. l
 understand this agreem ent and l voluntarily agree to it. l have not been coerced,
 threatened,orprom ised anything other than the tenus of this plea agreem ent,described
 above, in exchange for m y plea of guilty. Being aw are of all of the possible
 consequencesofmyplea,lhaveindependentlydecidedtoenterthispleaofmyownfree
 will,and am affirm lng thatagreem enton thisdate and by my signature below .

 pate: f-ar-zz                                         r
                                            A ntonio J nson,D efendant




 listed i1havefulj explainedallrightsavailabletomyclientwithrespecttotheoffenses
         n thependlng charging documentts). Ihave carefully reviewed every partofthis
 plea agreem entwith my client. To m y know ledge,m y client'sdecision to enter into this
 agreem entisan infonued and voluntary one.

          lf I w ill continue to represent my client regarding the U nited States' efforts to
 collect any monetay obligations,l willnotify the United States Attomey's Office,
 ATTN : FinancialLltigation U nit, P.O .B ox 1709, Roanoke, Virginia 24008-1709,in
 w riting,ofthe factof my continued legalrepresentation w ithin 10 days of the entry of
 judgmentinthiscase.

 Ilate: 9/a.s-///                                 Z
                                            R andy Cargill,Esq.
                                            CounselforD efendant
                                            virginiastateBa No.Q 3:1(
 oate: K -A % -tl
                                            K im evens        q.
                                            Couns I or       endant
                                            Nort      r i State arNo. Z o3F G

 D ate:        t tt
                                            An on P G iorno
                                              sistant nited States Attorney
                                            Virginia StateBar No.15830
 De
  fendant'sJ-      e z   /.W
